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    IT IS SO ORDERED this 2nd day
    of November, 2017.


    ____________________________
    Peggy A. Leen
    United States Magistrate Judge
Case
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